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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 8:04cr118-002

                                                      USM Number 19419-047

VERONICA PERALES
               Defendant
                                                      JOHN VANDERSLICE

                                                      Defendant’s Attorney
___________________________________

                              JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard conditions 7 and 9 and special condition
6 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                             Date Violation
       Violation Number                Nature of Violation                    Concluded


 3. (Standard Condition #7)      The defendant shall refrain from             April 19, 2007
                                 excessive use of alcohol and
                                 shall not purchase, possess,
                                 use, distribute, or administer any
                                 controlled substance or any
                                 paraphernalia related to such
                                 substances, except as
                                 prescribed by a physician.

 4. (Standard Condition #9)      The defendant shall not                      May 31, 2007
                                 associate with any persons
                                 engaged in criminal activity and
                                 shall not associate with any
                                 person convicted of a felony,
                                 unless granted permission to do
                                 so by the probation officer.
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 7. (Special Condition #6)            Pursuant to 18 U.S.C. 3583(d),              October 29, 2007
                                      the defendant shall submit to a
                                      drug test within fifteen (15) days
                                      of release on supervised release
                                      and at least two (2) periodic
                                      drug tests thereafter to
                                      determine whether the
                                      defendant is using a controlled
                                      substance. Further, the
                                      defendant shall submit to such
                                      testing as requested by any
                                      probation officer to detect the
                                      presence of alcohol or controlled
                                      substances in the defendant’s
                                      body fluids and to determine
                                      whether the defendant has used
                                      any of those substances. Based
                                      on the defendant’s ability to pay,
                                      the defendant shall pay for the
                                      collection of urine samples to be
                                      tested for the presence of
                                      alcohol and/or controlled
                                      substances in an amount to be
                                      determined by the probation
                                      officer.
Original Offense: Conspiracy to distribute controlled substance in violation of 21 USC 846

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 1, 2, 5, and 6 of the Petition for Offender Under Supervision are dismissed on the
motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence:
                                                                                      August 28, 2008

                                                                           s/ Richard G. Kopf
                                                                           United States District Judge

                                                                                August 29, 2008
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Defendant: VERONICA PERALES                                                               Page 3 of 4
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of sixty (60) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      The Court recommends in the strongest possible terms that the defendant participate in the
        500-hour Intensive Drug Treatment Program or any similar drug treatment program
        available.

2.      That the defendant be subject to a complete and thorough mental evaluation.

3.      If defendant is not placed at a federal medical center, then she be placed at Greenville,
        Illinois.

The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                         CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                Total Restitution

         $100.00 (paid)



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.



                                                    FINE

        No fine imposed.


                                              RESTITUTION

        No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
